         Case 5:21-cv-00978-PRW Document 8 Filed 12/02/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

OREM DAVID LEMBKE,                 )
                                   )
              Plaintiff,           )
                                   )
v.                                 )                      Case No. CIV-21-00978-PRW
                                   )
JEFFERSON COUNTY SHERIFF’S OFFICE, )
                                   )
              Defendant.           )

                                          ORDER

       This matter is before the Court on United States Magistrate Suzanne Mitchell’s

Report and Recommendation (Dkt. 7), entered on November 2, 2021. The Court observes

that no party has objected to the Report and Recommendation within the time limits

prescribed. The Court has also reviewed Magistrate Judge Mitchell’s Report and

Recommendation (Dkt. 7) de novo and agrees with the reasoning and conclusions therein.

Therefore, the Court adopts the Report and Recommendation in its entirety.

       Accordingly, the Court ADOPTS Magistrate Judge Mitchell’s Report and

Recommendation (Dkt. 7) and DISMISSES WITHOUT PREJUDICE the action for

Plaintiff’s failure to timely cure the deficiency in his in forma pauperis application, failure

to advise the Court of his new address, and failure to communicate with the Court.

       IT IS SO ORDERED this 2nd day of December 2021.




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